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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:15-cr-00218
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
YAIMARI GONZALEZ-SANTOS,            )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on March 1, 2016, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Yaimari Gonzalez-Santos entered a plea of guilty to Count One of the Indictment

in exchange for the undertakings made by the government in the written plea agreement. In Count

One of the Indictment, defendant is charged with conspiracy to commit wire fraud in violation of 18

U.S.C. § 1349. On the basis of the record made at the hearing, I find that defendant is fully capable

and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count One of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Date: March 1, 2016                                     /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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